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                                                    May 6, 2024

Via CM/ECF

The Honorable Tony N. Leung
Magistrate Judge – U.S. District Court
U.S. Courthouse
300 South Fourth Street
Minneapolis, MN 55415

        Re:    Nyra Jean Miller-Fields v. Ryan Londregan and Brett Seide
               Court File Number: 24-cv-01372 (NEB/TNL)

Magistrate Leung:

        I represent Defendant Brett Seide in the above-captioned matter. On April 25, 2024,
Defendant Seide filed a motion to stay proceedings until the conclusion of the state criminal matter
State v. Londregan, Case No. 27-CR-24-1844 (Henn. Cnty. Ct.), and a motion to extend time to
answer. Defendant Londregan filed a partial opposition, requesting an opportunity to bring a
dispositive motion while staying all other aspects of the matter. Plaintiff filed a brief in opposition,
but Plaintiff’s brief is untimely under the Court’s Local Rules and should not be considered by the
Court.

       If the Court concludes that Plaintiff’s brief is untimely and will not consider it, Defendant
Seide respectfully requests that the Court cancel the hearing currently scheduled for June 6, 2024,
and provide a ruling on the motions as soon as possible. If the Court will consider the arguments
presented by Plaintiff, Defendant Seide requests that the Court keep the June 6 hearing date.

                                                          Sincerely,

                                                          s/ Anna Veit-Carter
                                                          ANNA VEIT-CARTER
                                                          Assistant Attorney General

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cc:     Counsel for all parties, via CM/ECF


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